Case 1:14-cV-23933-PCH Document 173-4 Entered on FLSD Docket 11/07/2018 Page 1 of 3
Florida Sexual Offender and Predators

 

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‘ Person Search l Fac|lity Search l Mail-ou\ v CJNet search Qul€k Seal‘€h' [::-.

 

 

  
    
 
 

 

 

 

 

 

 

 

 

    

 

 

 

 

We|come Heather Fau|kner! $ Chlfuny l_CO§lr$¢ for‘pub[lc Slf:l.'ly» >>"
Off°nder M°nu l E Qu|ck lnformation M°\’€ >>
l Primary Informadon Nama:_ Person ¢: 49939
Person Type: Offender DC# M48507
w: Re|eased SID#: FL05911312
Lloense:
Cllck mm to receive notifications when offender information is updated.
. Field Information
l thar Information
ah mme _R_°»:<.>€‘_!L°_"M"°"_ l nw _vv status
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................ .. send command
' Add'°“ x"f°""°“°" Mmmsm_ms:uumm
m w Marcha Delaosa . .l i l . . f r 1 700 Acoepted lms/2013
--M;’[‘°""‘ I!"' m
| . .
wm General Comment.
' crime Inf°rmation 383254 Marthi Dellosi !in n sub ed is w be ndwsed Acmp\ed 11/15/20`|3
V- ' bn ste i e .
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¢ Internet Ident|fiers ca l C°mm°nt
l_ml%w §§_QL‘$ 4 Ricardo Landrian mmmisu£d_a_miam.a§smm_ Acoepted 04/30/2013
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l Photoqraphs Genera| Comment:
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' G¢"¢"¢' C°"""=“'S wmxm_mm_m§m_
l Registration Information Genera| comme"t:
mmmm _291581 Sha\~n Sl<mner mammll_b.e.maulmmu¥_m.gzl£§£mz. Ae¢epted 02/24/2012
. to .
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........................................... 9.21.%§£2£1.&..
' Address Conf|rmat|on General Commerlt:
Ar:tim` Reggrts 2900‘18 Luis Poveda Tne off nd PD nd Acoepted 02/14/20'12
____eaumhddmss Ve‘ii'=a“°“ n widh_ef§__w&¢_i_fmm_hl§_mn.
_ M General Comment:
_ g§§§§_g Martha Delaosa Sub'ect r i-a Acoepted 08/30/2011
[' F‘°" 1"‘°"““'°“ Mmms_:m_
.Y.§T!°’§.°.f§'l'.°..:?.°.“'"°. 1.¢:4_07 Marrha Delaosa Mmum named 10/01/2009
en r Bu|ledn “'+5' F 4'
....... ~ ...m.. .. ............. ... . . Genera| comment
- Document Menagement . . . 1he subject advised that ha will be traveling .
~- ~'-~ M Ch"sn"a umw to Lima‘ Perul on Aug. 2, 2007, and will be named wol/zom
growing to Miamil F1. on Aug. 17l 2097.
531 2
page 2 of 2
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htm://offender.flcin.net/SexPred Maintenance/sort.do?layoutCollection=O&pagerPage=l

 

 

 

GOVERNMENT
EXH|B|T

CASE "[ )'§i 33

EXH|B|T 9

 

 

 

 

 

 

1/22/2018

 

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Florida Sexual Offender and Predatols

- Person Search
Welcome Nelson Fajardol

Offender Menu

- Frlmar'y Informatlon

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' Person Information
B_§£D$‘_§
§lgh Dates

l l ri er

cars Marks Tattoos

- Other Informatlon

 

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M_|§g§l|gngous Number§
Prgf§§lgna| L|cgnse§

l Address !nformation
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l General Comments

- Reglstratlon !nformation
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~ Address Confirmatlon
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- Faci|ity Search

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l CJNet Search

Qulck Search:

  

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l El Qulck Informatlon

NBmE:

  
 
 

OB:
SN:

Person Type: Offender
egal Status: Released

1973

Person #: 49939
DC# M48507
SID#: FL05911312

Cense{

Cllck gm to receive notifications when offender information ls updated.

More >>

 

 

Agency Informatlon

Agency Name:
Agency Address: 1
Agency County:
Phone Numbers:
*Contact First Name:
Contact Middle Name:
Contact Area Code:
Phone Extens|on:

*Date Obtalned:

Added By:

Modlfled By:

Resldential Address I
*Fie|d Info. Method:
*Address Llne 11
*City:

*Z|p:
Country:

Begln date:

Comment:

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Miam| Dade PD

701 NW 87th Ave Ste 222

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Agency Type:

*Comact Last Name:
Contact Suft`lx:

Phone Number:

Tlme Obtalned:

Date Added:

Date Modlf'ced:

*Address Type:
Address L|ne 2:
*State
*County:
Address Verif|ed:

End date:

Law Enforcement Agency

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Subject is in compliance with county ordinance ,,\_
moved in on 11/2/2005.

‘-/

 

 

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Sugqestlons/Feedback

 

http://offender.chILnet/SexPred__Maintenance/manageFieldlmel1.do?actionPerfolmed=lo...

10/22/2018

 

 

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Registration No: 255036 Person Number: 49939

4. Within 48 hours, after any change of address in permanent or temporary residence, change of name due to
marriage or other legal process, or When my driver's license is subject to renewa|, l must report that information
in person to the driver's license office of the Department of Highway Safety and l\/lotor Vehicles to obtain and
maintain a valid Florida driver's license or identification card.

5. if l live in another state, but work or attend school in Florida, l l\/lUST register my work or school address as a
temporary address within 48 hours by reporting in person to the local Sheriff's Ofnce. l must also obtain and
maintain a valid Florida driver's license or identification card.

6. lt l intend to establish residence in another state orjurisdiction other than the State of Florida, l must report i_n
M to the local Sheriff‘s Oftice to notify of my intention to do so Within 48 hours prior to leaving

7. lfl later decide to remain in this state (see #6 above), l must reportin_p_QL$Qn back to the local Sheriff's Office
to notify of my intention to remain in Florida. This report must occur within 48 hours after the date l indicated
that l would leave. Failure to comply with this requirement is a felony of the second degree.

8. lf l move from a permanent residence and do not have another permanent or temporary residence, l must
report this change l_r_\__person to the Sheriff`s Office within 48 hours. l must update all registration information
and provide an address or location that l will occupy until l establish a residence

9. if l later decide to remain at the permanent residence (see #8 above), l must report in person back to the
Sheriff's Of'fice to notify of my intention This report must occur within 48 hours after the date that l indicated
that l Wou|d leave the permanent residence. Failure to comply with this requirement is a felony of the
second degree.

10. l l\/iUST respond to any address verification correspondence from FDLE within three Weel<s of the date of the
correspondence

11. if l arn employed, carry on a vocation, am a student, or become a resident of another state l must also register
in that state.

12. if | am enrolled, employed, or carrying on a vocation at an institution of higher education in this state, l shall also
provide the name, address, and county of each institution, including each campus attended, and my enrollment
or employment status. l shall report each change in enrollment or employment status ingerson at the Sherifi"s
Oche within 48 hours after any change in status.

13. l l\/lUST report any electronic mail address or instant message name, prior to using such. during registration/
reregistration and provide all updates through the online system provided by the Florida Department of Law
Enforcement.

 

 

E_LEA§_E.B_EAD._.C.ME_FLL Y BEFORE SlGN|NG

As a Sexual Predator (F!orida Statute 775.21) or Sexual Offender (Florida Statute 943.0435, 944.607 or 985.481),
you are required by law to abide by those requirements listed on this form. By signing below, you acknowledge
that you have read or have been read all the requirements on this form, AND that you understand these

requirements

YOU ARE REQU|RED TO REREG|STER EACH ¥EAR AT THE SHERlFF'S OFFlCE lN THE MONTHS OF January,
Apr|l, July, AND October. mem

Under penalty of perjury l declare the above is true and correct.

,/1 , f
Registrant: Wltnessed by Reportlng Officer: 1 / / z’ ’

Slgnature Requ|red

 

 

 

 

 

f ignatureR qu red

Printed Name:___ Date: 10/01/2009 Printed Name: Manha Delaosa Date: 10/01/2009

* OFFlClAL DOCUMENT DO NOT DESTROY *
"’"" NOTE: Your next ReReglstration month is January of 2010. ***"

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